                                                                                                                    FILED
                                                                                                           CHARLOTTE, NC

                           IN THE LTNITED STATES DISTRICT COURT                                               JUN - I 2017
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA                                        US DISTRICT COURT
                                    CHARLOTTE DIVISION                                               WESTERN DISTRICT OF NC

                                      CRIMINAL NO.: 3: I Tcrl 39-MOC

TNITED STATES OF AMERICA                                        )
                                                                )          CONSENT ORDER AND
                                                                )        JUDGMENT OF FORFEITURE
                                                                )          PENDING RULE 32.2(c)(2)
KEVIN MLINDY                                                    )


        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination ofDefendants in this case) has or had a possessory interest or other
legal interest in the propertyr, lT IS HEREBY ORDERED THAT:

         l.    The following property is forfeited to the United States pursuant to 2l U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

        One Harringlon and Richardson l2-gauge shotgun, serial number AY600477 and
        ammunition.

        2.     The United States Marshals Service, the investigative agency, and/or the agency
conractor is authorized to take possession and maintain custody ofthe above specific asset(s).

        3.        If and to the extent required by Fed. R. Crim. P. 32.2(b)(6),2l U.S.C. $ 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

        4. Any person, other than the Defendant, asserting any legal interest in the property
may,   within thirty days ofthe publication ofnotice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

        5.      Pursuant to Fed. R. Crim. P. 32.2(bX3), upon entry ofthis order, the United States
Attomey's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P' 45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall

r In thc event that any firearms are subject to forfeiture pursuant to this Consent O.der, defendant's consent to
forfeiture herein doei not constitute a waiver ofany objections to sent€ncing factors, including any weapon
enhancemenl that the Government may contend are applicable'




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become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose ofthe property according to [aw.

         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 2l
U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 nd 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation ofthe forfeiture in thejudgment against Defendant. Ifthe Defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, Defendant hereby withdraws that claim. If Defendant has not previously
submitted such a claim, Defendant hereby waives all right to do so. As to any firrarms listed above
and/or in the charging instrument, Defendant consents to destruction by federal, state, or local law
enforcement authorities upon such legal process as they, in their sole discretion deem to legally
sufficient, and waives any and all right to further notice ofsuch process or such destruction.


JILL WESTMORELAND ROSE
UNITED STATES ATTORNEY




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STEVEN R. KAUFMAN,                                    ffi
Assistant United States Attomey




Signed this the I't day ofJune 2017.




                                              LNITED STATES MAGISTRATE JUDGE




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